                                Case 6:21-bk-04459-LVV                   Doc 1        Filed 10/01/21           Page 1 of 35


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Osceola Medical Plaza LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1000 Mann Street
                                  Kissimmee, FL 34741
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Osceola                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                               Case 6:21-bk-04459-LVV                       Doc 1         Filed 10/01/21              Page 2 of 35
Debtor    Osceola Medical Plaza LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                 Case 6:21-bk-04459-LVV                            Doc 1       Filed 10/01/21            Page 3 of 35
Debtor    Osceola Medical Plaza LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                        Case 6:21-bk-04459-LVV                  Doc 1       Filed 10/01/21           Page 4 of 35
Debtor   Osceola Medical Plaza LLC                                                    Case number (if known)
         Name

                             $50,001 - $100,000                           $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                          $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                        $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                              Case 6:21-bk-04459-LVV                      Doc 1        Filed 10/01/21             Page 5 of 35
Debtor    Osceola Medical Plaza LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 1, 2021
                                                  MM / DD / YYYY


                             X   /s/ Faiz A. Faiz                                                         Faiz A. Faiz
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Aldo G. Bartolone                                                     Date October 1, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Aldo G. Bartolone 173134
                                 Printed name

                                 Bartolone Law, PLLC
                                 Firm name

                                 1030 N. Orange Avenue
                                 Suite 300
                                 Orlando, FL 32801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (407) 294-4440               Email address      aldo@bartolonelaw.com

                                 173134 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         Osceola Medical Plaza LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration               Statement of Financial Affairs

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 1, 2021                         X /s/ Faiz A. Faiz
                                                                       Signature of individual signing on behalf of debtor

                                                                       Faiz A. Faiz
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                     Case 6:21-bk-04459-LVV                         Doc 1        Filed 10/01/21                 Page 7 of 35


 Fill in this information to identify the case:
 Debtor name Osceola Medical Plaza LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Acute Patient Care                                              Final Judgment         Disputed                                                                      $1,961,500.00
 Inc.
 1032 Mann Street
 Kissimmee, FL
 34741
 Apparelnbags.com                                                Loan to Debtor for                                                                                       $34,482.13
 Inc.                                                            2017 Property
 3030 N. Rocky Point                                             Taxes
 Dr.
 Suite 150
 Tampa, FL 33607
 Apparelnbags.com                                                Loan to Debtor for                                                                                       $32,663.63
 Inc.                                                            2016 Property
 3030 N. Rocky Point                                             Taxes
 Dr.
 Suite 150
 Tampa, FL 33607
 DeWitt Law Firm                                                 Legal Services                                                                                           $29,648.50
 135 W. Central Blvd.
 Suite 320
 Orlando, FL 32801
 Rizk Investments,                                               Final Judgment         Disputed                                                                        $889,593.56
 LLC
 3068 Zaharias Drive
 Orlando, FL 32837
 SRCT Inc.                                                       Loan to Debtor         Disputed                                                                        $497,886.21
 1000 Mann Street
 Kissimmee, FL
 34741
 Tony H. Hale                                                    Lawn Care &                                                                                              $11,200.00
 30 Chip Ct.                                                     Maintenance
 Kissimmee, FL
 34759




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                      Case 6:21-bk-04459-LVV                                           Doc 1              Filed 10/01/21                         Page 8 of 35

 Fill in this information to identify the case:

 Debtor name            Osceola Medical Plaza LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        1,812,300.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,085,799.15

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,898,099.15


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,067,798.16


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,456,974.03


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           4,524,772.19




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Osceola Medical Plaza LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     TD Bank                                                 Checking                        2036                                         $81.47



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $81.47
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Kissimmee Utility Authority                                                                                                      $6,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                                      $6,000.00
           Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                               Case 6:21-bk-04459-LVV                            Doc 1      Filed 10/01/21          Page 10 of 35

 Debtor         Osceola Medical Plaza LLC                                                          Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 41,800.00   -                                0.00 = ....                 $41,800.00
                                              face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                               965,252.92       -                               0.00 =....                  $965,252.92
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                               696,278.00       -                               0.00 =....                  $696,278.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                               332,291.57       -                               0.00 =....                  $332,291.57
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                            $2,035,622.49
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                            Valuation method used   Current value of
                                                                                                            for current value       debtor's interest


 14.       Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:


           14.1.



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture

           Name of entity:                                                               % of ownership


           15.1.                                                                                    %



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1

           Describe:


           16.1.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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                               Case 6:21-bk-04459-LVV                       Doc 1     Filed 10/01/21        Page 11 of 35

 Debtor         Osceola Medical Plaza LLC                                                     Case number (If known)
                Name

           Describe:



 17.       Total of Part 4.
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used   Current value of
                                                      physical inventory      debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials




 20.       Work in progress




 21.       Finished goods, including goods held for resale




 22.       Other inventory or supplies




 23.       Total of Part 5.
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
              No
              Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                               Case 6:21-bk-04459-LVV                          Doc 1     Filed 10/01/21         Page 12 of 35

 Debtor         Osceola Medical Plaza LLC                                                        Case number (If known)
                Name

 28.       Crops-either planted or harvested




 29.       Farm animals Examples: Livestock, poultry, farm-raised fish




 30.       Farm machinery and equipment (Other than titled motor vehicles)




 31.       Farm and fishing supplies, chemicals, and feed




 32.       Other farming and fishing-related property not already listed in Part 6




 33.       Total of Part 6.
           Add lines 28 through 32. Copy the total to line 85.

 34.       Is the debtor a member of an agricultural cooperative?
               No
               Yes. Is any of the debtor's property stored at the cooperative?
                         No
                         Yes

 35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                         Current Value

 36.       Is a depreciation schedule available for any of the property listed in Part 6?
              No
              Yes

 37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
             No
             Yes

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office Furniture and Equipment                                                 Unknown       N/A                               $33,701.32



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Osceola Medical Plaza LLC                                                     Case number (If known)
                Name



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Telephone Equipment                                                         Unknown       N/A                                 $5,393.87



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $39,095.19
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     1988 Trailer
                     VIN: 1GRAA9628JS066502
                     Poor condition                                                    Unknown       N/A                                 $5,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                          $5,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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                               Case 6:21-bk-04459-LVV                         Doc 1    Filed 10/01/21        Page 14 of 35

 Debtor         Osceola Medical Plaza LLC                                                      Case number (If known)
                Name

54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and           Net book value of       Valuation method used   Current value of
            property                                      extent of            debtor's interest       for current value       debtor's interest
            Include street address or other               debtor's interest    (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 1000 Mann Street,
                     Kissimmee, Florida
                     34741
                     Parcel ID:
                     212529158800010010
                     15,003 sf medical
                     office plaza (12 units)              Fee simple                    Unknown        Tax records                     $1,812,300.00




 56.        Total of Part 9.                                                                                                         $1,812,300.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                Net book value of       Valuation method used    Current value of
                                                                               debtor's interest       for current value        debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets




 61.        Internet domain names and websites




 62.        Licenses, franchises, and royalties




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 6
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                               Case 6:21-bk-04459-LVV                       Doc 1     Filed 10/01/21          Page 15 of 35

 Debtor         Osceola Medical Plaza LLC                                                    Case number (If known)
                Name



 63.        Customer lists, mailing lists, or other compilations




 64.        Other intangibles, or intellectual property




 65.        Goodwill




 66.        Total of Part 10.
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            Eviction of tenant - Osceola Injury Center LLC                                                                                Unknown
            Nature of claim          Eviction
            Amount requested                             $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 7
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 Debtor         Osceola Medical Plaza LLC                                                    Case number (If known)
                Name



           Claims against Ajaz Afzal, M.D.                                                                                       Unknown
           Nature of claim         Conversion
           Amount requested                                              $0.00



           Eviction of tenant - Acute Patient Care Inc.                                                                          Unknown
           Nature of claim          Eviction
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                        $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 8
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                                  Case 6:21-bk-04459-LVV                                 Doc 1            Filed 10/01/21               Page 17 of 35

 Debtor          Osceola Medical Plaza LLC                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $81.47

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $6,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,035,622.49

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $39,095.19

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $5,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,812,300.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,085,799.15            + 91b.            $1,812,300.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,898,099.15




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 9
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 Fill in this information to identify the case:

 Debtor name         Osceola Medical Plaza LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   H&H Health Solutions, LLC                      Describe debtor's property that is subject to a lien                 $994,000.00             $1,812,300.00
       Creditor's Name                                1000 Mann Street, Kissimmee, Florida 34741
                                                      Parcel ID: 212529158800010010
       1032 Mann Street                               15,003 sf medical office plaza (12 units)
       Kissimmee, FL 34741
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. H&H Health Solutions,
       LLC
       2. Osceola County Tax
       Collector
       3. Osceola County Tax
       Collector

       Osceola County Tax
 2.2                                                                                                                         $37,061.50            $1,812,300.00
       Collector                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                1000 Mann Street, Kissimmee, Florida 34741
                                                      Parcel ID: 212529158800010010
       P.O. Box 422105                                15,003 sf medical office plaza (12 units)
       Kissimmee, FL 34742-2105
       Creditor's mailing address                     Describe the lien
                                                      Property Taxes
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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                                  Case 6:21-bk-04459-LVV                         Doc 1          Filed 10/01/21         Page 19 of 35

 Debtor       Osceola Medical Plaza LLC                                                               Case number (if known)
              Name

        2019                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        0010
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

        Osceola County Tax
 2.3                                                                                                                            $36,736.66       $1,812,300.00
        Collector                                     Describe debtor's property that is subject to a lien
        Creditor's Name                               1000 Mann Street, Kissimmee, Florida 34741
                                                      Parcel ID: 212529158800010010
        P.O. Box 422105                               15,003 sf medical office plaza (12 units)
        Kissimmee, FL 34742-2105
        Creditor's mailing address                    Describe the lien
                                                      Property Taxes
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        2020                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        0010
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

                                                                                                                               $1,067,798.1
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         6

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                                 Case 6:21-bk-04459-LVV                       Doc 1          Filed 10/01/21                 Page 20 of 35

 Fill in this information to identify the case:

 Debtor name         Osceola Medical Plaza LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,961,500.00
           Acute Patient Care Inc.                                              Contingent
           1032 Mann Street                                                     Unliquidated
           Kissimmee, FL 34741
                                                                                Disputed
           Date(s) debt was incurred 9/10/2021
                                                                             Basis for the claim:    Final Judgment
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $32,663.63
           Apparelnbags.com Inc.                                                Contingent
           3030 N. Rocky Point Dr.                                              Unliquidated
           Suite 150                                                            Disputed
           Tampa, FL 33607
                                                                             Basis for the claim:    Loan to Debtor for 2016 Property Taxes
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $34,482.13
           Apparelnbags.com Inc.                                                Contingent
           3030 N. Rocky Point Dr.                                              Unliquidated
           Suite 150                                                            Disputed
           Tampa, FL 33607
                                                                             Basis for the claim:    Loan to Debtor for 2017 Property Taxes
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $29,648.50
           DeWitt Law Firm                                                      Contingent
           135 W. Central Blvd.                                                 Unliquidated
           Suite 320                                                            Disputed
           Orlando, FL 32801
                                                                             Basis for the claim:    Legal Services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 3
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 Debtor       Osceola Medical Plaza LLC                                                               Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $889,593.56
           Rizk Investments, LLC                                                Contingent
           3068 Zaharias Drive                                                  Unliquidated
           Orlando, FL 32837
                                                                                Disputed
           Date(s) debt was incurred 9/1/2021
                                                                             Basis for the claim:    Final Judgment
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $497,886.21
           SRCT Inc.                                                            Contingent
           1000 Mann Street                                                     Unliquidated
           Kissimmee, FL 34741
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Loan to Debtor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $11,200.00
           Tony H. Hale                                                         Contingent
           30 Chip Ct.                                                          Unliquidated
           Kissimmee, FL 34759                                                  Disputed
           Date(s) debt was incurred 2020-2021
                                                                             Basis for the claim:    Lawn Care & Maintenance
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any
 4.1       Ajaz Afzal
           1032 Mann Street                                                                           Line     3.1
           Kissimmee, FL 34741
                                                                                                             Not listed. Explain

 4.2       Christopher Skambis
           The Skambis Law Firm                                                                       Line     3.1
           720 Rugby Street
                                                                                                             Not listed. Explain
           Suite 120
           Orlando, FL 32804

 4.3       David S. Cohen
           Law Office of David S. Cohen                                                               Line     3.5
           5728 Major Boulevard
                                                                                                             Not listed. Explain
           Suite 550
           Orlando, FL 32819

 4.4       Munira K. Zafar
           3068 Zaharias Drive                                                                        Line     3.5
           Orlando, FL 32837
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                          0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                  3,456,974.03


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 3
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 Debtor       Osceola Medical Plaza LLC                                                           Case number (if known)
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              3,456,974.03




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Osceola Medical Plaza LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Lease of Units
             lease is for and the nature of               1030-1036 (Month to
             the debtor's interest                        Month)

                  State the term remaining                Expired
                                                                                    Acute Patient Care Inc.
             List the contract number of any                                        1032 Mann Street
                   government contract                                              Kissimmee, FL 34741


 2.2.        State what the contract or                   Lease of Units
             lease is for and the nature of               1016-1020 (Month to
             the debtor's interest                        Month)

                  State the term remaining                Expired
                                                                                    Osceola Injury Center LLC
             List the contract number of any                                        1020 Mann Street
                   government contract                                              Kissimmee, FL 34741


 2.3.        State what the contract or                   Lease of Unit 1026
             lease is for and the nature of               (Month to Month)
             the debtor's interest

                  State the term remaining                Expired
                                                                                    Pharmacy 4U Inc.
             List the contract number of any                                        1026 Mann Street
                   government contract                                              Kissimmee, FL 34741




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                               Case 6:21-bk-04459-LVV                  Doc 1     Filed 10/01/21           Page 24 of 35

 Fill in this information to identify the case:

 Debtor name         Osceola Medical Plaza LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Faiz A. Faiz                      3650 Mount Vernon Way                             Rizk Investments,                  D
                                               Kissimmee, FL 34741                               LLC                                E/F       3.5
                                                                                                                                    G




    2.2      Faiz A. Faiz                      3650 Mount Vernon Way                             Acute Patient Care                 D
                                               Kissimmee, FL 34741                               Inc.                               E/F       3.1
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Osceola Medical Plaza LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  $5,000.00
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                          $0.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                                          $0.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Osceola Medical Plaza LLC                                                                 Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Faiz A. Faiz                                                9/1/2020 to                        $5,451.42          Officer Compensation
               3650 Mount Vernon Way                                       9/30/2021
               Kissimmee, FL 34741
               Managing Member

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Acute Patient Care Inc. and                      Constructive               Orange County Circuit                         Pending
               Ajaz Afzal, MD v. Osceola                        Trust                      Court                                         On appeal
               Medical Plaza LLC, et al.                                                   425 N. Orange Avenue
                                                                                                                                         Concluded
               2016-CA-010283-O                                                            Orlando, FL 32801

       7.2.    Osceola Medical Plaza LLC v.                     Trespassing,               Osceola County Circuit                        Pending
               Ajaz Afzal M.D.                                  Self-Help,                 Court                                         On appeal
               2019 CA 003388 OC                                Conversion &               2 Courthouse Square
                                                                                                                                         Concluded
                                                                Tortious                   Kissimmee, FL 34741
                                                                Interference

       7.3.    Osceola Medical Plaza LLC v.                     Eviction                   Osceola County Circuit                        Pending
               Osceola Injury Center, LLC                                                  Court                                         On appeal
               2016 CA 003032 CI                                                           2 Courthouse Square
                                                                                                                                         Concluded
                                                                                           Kissimmee, FL 34741

       7.4.    Osceola Medical Plaza, LLC v.                    Eviction                   Osceola County Court                          Pending
               Acute Patient Care, Inc.                                                    2 Courthouse Square                           On appeal
               2017 CC 000786 EV                                                           Kissimmee, FL 34741
                                                                                                                                         Concluded



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8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                  Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                            lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates        Total amount or
                the transfer?                                                                                                                        value
                Address
       11.1.    Bartolone Law PLLC
                1030 N. Orange Avenue
                Suite 300                                            Initial Attorney's Fee Retainer for Chapter               September
                Orlando, FL 32801                                    11 Bankruptcy                                             21, 2021         $21,750.00

                Email or website address
                aldo@bartolonelaw.com

                Who made the payment, if not debtor?
                Faiz A. Faiz



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers     Total amount or
                                                                                                                        were made                    value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
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    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was               Last balance
               Address                                          account number            instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.



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 Debtor      Osceola Medical Plaza LLC                                                                  Case number (if known)




          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

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25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Kashif N. Ahmad, EA, FCCA                                                                                                  2018 & 2019
                    Florida Tax & Accounting Solution
                    8121 Bird Whistle Ln.
                    Land O Lakes, FL 34637
       26a.2.       Asad Farooq                                                                                                                Bookkeeper since
                    1000 Mann Street                                                                                                           2018
                    Kissimmee, FL 34741

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Faiz A. Faiz                                   3650 Mount Vernon Way                               Managing Member                               90%
                                                      Kissimmee, FL 34741




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 Debtor      Osceola Medical Plaza LLC                                                                  Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Riffat Faiz                                    3650 Mount Vernon Way                               Member                                10%
                                                      Kissimmee, FL 34741



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 1, 2021

 /s/ Faiz A. Faiz                                                       Faiz A. Faiz
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      Osceola Medical Plaza LLC                                                                                 Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Faiz A. Faiz                                                                         90%
 3650 Mount Vernon Way
 Kissimmee, FL 34741

 Riffat Faiz                                                                          10%
 3650 Mount Vernon Way
 Kissimmee, FL 34741


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date October 1, 2021                                                        Signature /s/ Faiz A. Faiz
                                                                                            Faiz A. Faiz

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                 Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       October 1, 2021                                          /s/ Faiz A. Faiz
                                                                      Faiz A. Faiz/Managing Member
                                                                      Signer/Title




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Osceola Medical Plaza LLC          Munira K. Zafar
1000 Mann Street                   3068 Zaharias Drive
Kissimmee, FL 34741                Orlando, FL 32837




Aldo G. Bartolone                  Osceola County Tax Collector
Bartolone Law, PLLC                P.O. Box 422105
1030 N. Orange Avenue              Kissimmee, FL 34742-2105
Suite 300
Orlando, FL 32801

Acute Patient Care Inc.            Osceola Injury Center LLC
1032 Mann Street                   1020 Mann Street
Kissimmee, FL 34741                Kissimmee, FL 34741




Ajaz Afzal                         Pharmacy 4U Inc.
1032 Mann Street                   1026 Mann Street
Kissimmee, FL 34741                Kissimmee, FL 34741




Apparelnbags.com Inc.              Rizk Investments, LLC
3030 N. Rocky Point Dr.            3068 Zaharias Drive
Suite 150                          Orlando, FL 32837
Tampa, FL 33607



Christopher Skambis                SRCT Inc.
The Skambis Law Firm               1000 Mann Street
720 Rugby Street                   Kissimmee, FL 34741
Suite 120
Orlando, FL 32804

David S. Cohen                     Tony H. Hale
Law Office of David S. Cohen       30 Chip Ct.
5728 Major Boulevard               Kissimmee, FL 34759
Suite 550
Orlando, FL 32819

DeWitt Law Firm
135 W. Central Blvd.
Suite 320
Orlando, FL 32801



H&H Health Solutions, LLC
1032 Mann Street
Kissimmee, FL 34741
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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Osceola Medical Plaza LLC                                                                    Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Osceola Medical Plaza LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Faiz A. Faiz
 3650 Mount Vernon Way
 Kissimmee, FL 34741
 Riffat Faiz
 3650 Mount Vernon Way
 Kissimmee, FL 34741




    None [Check if applicable]




 October 1, 2021                                                     /s/ Aldo G. Bartolone
 Date                                                                Aldo G. Bartolone 173134
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Osceola Medical Plaza LLC
                                                                     Bartolone Law, PLLC
                                                                     1030 N. Orange Avenue
                                                                     Suite 300
                                                                     Orlando, FL 32801
                                                                     (407) 294-4440 Fax:(407) 287-5544
                                                                     aldo@bartolonelaw.com




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